Case 2:18-cv-11776-AJT-EAS ECF No. 65 filed 08/06/19                 PageID.2199      Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 John Doe,

                                   Plaintiff(s),
 v.                                                    Case No. 2:18−cv−11776−AJT−EAS
                                                       Hon. Arthur J. Tarnow
 University of Michigan, et al.,

                                   Defendant(s),



             ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

     IT IS ORDERED that the following motion(s) are referred to U.S. Magistrate Judge
 Elizabeth A. Stafford for a hearing and determination pursuant to 28 U.S.C. § 636(b)(1)(A):

                 Motion for Attorney Fees − #48




                                                   s/Arthur J. Tarnow
                                                   Arthur J. Tarnow
                                                   United States District Judge



                                      Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.



                                                   s/M. Lang
                                                   Case Manager

 Dated: August 6, 2019
